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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,

Vv. 1:20-cr-00018-SPB-1
MELQUAN BARNETT,

Defendant.

CHANGE OF PLEA

Defendant, MELQUAN BARNETT, withdraws his Plea of Not Guilty and
enters a Plea of Guilty to Count 1 of the Indictment in open court this 4"

day of January 2023.

 
   

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Defendant’s Siena

 

 

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